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                         UNITED STATES DISTRICT COURT
                                                  for the
                                       NORTHERN DISTRICT OF ILLINOIS


 STEPHANY WILLIAMS, on behalf of herself and all
           others similarly situated                                 )
                                                                     )
                           Plaintiff                                 )
                                                                     )
                              v.                                     )      Civil Action No. 1:24-cv-08610
                                                                     )
                                                                     )
       PINNACLE PROPERTY MANAGEMENT
                                                                     )
                SERVICES, LLC
                                                                     )
                          Defendant


                                         AFFIDAVIT OF SERVICE


I, Kitty Estes, state:

I am 18 years or older and not a party to this action or a member of a corporation or organization that is a
party to this action.

I served the following documents to Pinnacle Property Management Services, LLC in Dallas County, TX on
September 19, 2024 at 12:10 pm at 1999 Bryan Street, suite 900, Dallas, TX 75201 by leaving the following
documents with Shaina Fenimore who as Intake Specialist at CT Corporation System is authorized by
appointment or by law to receive service of process for Pinnacle Property Management Services, LLC.

NOTIFICATION OF DOCKET ENTRY - Page ID 77
Cover Sheet
Notice of Electronic Filing - Case Assigned
Notice of Electronic Filing - Clerk's Notice
NOTIFICATION OF DOCKET ENTRY - Page ID 76
Summons
Exhibit A - Williams Lease
Complaint

White Female, est. age 35-44, glasses: N, Brown hair, 180 lbs to 200 lbs, 5' 6" to 5' 9".
Geolocation of Serve: https://google.com/maps?q=32.7849708667,-96.79693725
Photograph: See Exhibit 1




Proof Job #677404                                                                                         Page 1
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Total Cost: $150.00

Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the
undersigned certifies that the statements set forth in this instrument are true and correct, except as to matters
therein stated to be on information and belief and as to such matters the undersigned certifies as aforesaid
that he/she verily believes the same to be true.

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.


Executed in
                                                         /s/ Kitty Estes
   Dallas County                                    ,    Signature
                                                         Kitty Estes
   TX         on    9/20/2024                  .         +1 (469) 363-7073




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